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                               Exhibit 32



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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Gorospe, Kevin J. - December 3, 2008 09:14:00 a.m.




     1:1                     UNITED STATES DISTRICT COURT

       2                      DISTRICT OF MASSACHUSETTS

       3     -------------------------------X

       4     IN RE PHARMACEUTICAL INDUSTRY           )

       5     AVERAGE WHOLESALE PRICE                 )   MDL No. 1456

       6     LITIGATION                              )

       7     -------------------------------X

       8     THIS DOCUMENT RELATES TO                )   Civil Action:

       9     State of California, ex rel.            )   01-12258-PBS

      10     Ven-A-Care v. Abbott                    )

      11     Laboratories, Inc., et al.              )

      12     -------------------------------X

      13                                 --oOo--

      14                     WEDNESDAY, DECEMBER 3, 2008

      15                                 --oOo--

      16                       VIDEOTAPED DEPOSITION OF

      17       THE CALIFORNIA DEPARTMENT OF HEALTH CARE SERVICES

      18                   by J. KEVIN GOROSPE, Pharm.D.

      19                                 --oOo--

      20

      21     Reported By:      CAROL NYGARD DROBNY, CSR No. 4018

      22                       Registered Merit Reporter




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     2:1                     UNITED STATES DISTRICT COURT

       2                      DISTRICT OF MASSACHUSETTS

       3     -----------------------------------X

       4     IN RE PHARMACEUTICAL INDUSTRY           )

       5     AVERAGE WHOLESALE PRICE LITIGATION )        MDL No. 1456

       6     -----------------------------------X

       7     THIS DOCUMENT RELATES TO                )   Civil Action:

       8     United States of America ex rel.        )   01-12257-PBS

       9     Ven-a-Care of the Florida Keys,         )

      10     Inc., et al., v. Abbott                 )

      11     Laboratories, Inc., Civil Action        )

      12     No. 06-11337-PBS; United States of )

      13     America ex rel.      Ven-a-Care of the )

      14     Florida Keys, Inc., et al., vs.         )

      15     Dey, Inc., et al., Civil Action No.)

      16     05-11084-PBS; United States of          )

      17     America ex rel. Ven-a-Care of the       )

      18     Florida Keys, Inc., et al., v.          )

      19     Boehringer Ingelheim Corp., et al.,)

      20     Civil Action No. 07-10248-PBS           )

      21     -----------------------------------X

      22




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  201:1      Kevin Gorospe.

       2                  We are on the record at 2:35 p.m.

       3     BY MR. HENDERSON:

       4           Q.     Mr. -- Dr. Gorospe, referring back to

       5     Exhibit 12, if you -- I'd like to direct your

       6     attention to Section 447.301 in the upper

       7     righthand corner of the first page,

       8     "Definitions."

       9           A.     Okay.

      10           Q.     Do you see that?

      11                  And you see there's a definition of

      12     "estimated acquisition cost," and it says

      13     "'Estimated acquisition cost' means the agency's

      14     best estimate of the price generally and

      15     currently paid by providers for a drug marketed

      16     or sold by a particular manufacturer or labeler

      17     in a package size of drug most frequently

      18     purchased by providers."

      19                  Do you see that?

      20           A.     Yes, I do.

      21           Q.     From time-to-time has Medi-Cal used the

      22     term "estimated acquisition cost"?




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  202:1            A.     Yes.

       2                  MR. COLE:     Object to the form.

       3                  THE WITNESS:     Yes, we have.

       4     BY MR. HENDERSON:

       5           Q.     And in your experience has Medi-Cal's

       6     use of the term "estimated acquisition cost" been

       7     consistent or inconsistent with the definition

       8     that's shown here in this Exhibit 12?

       9           A.     Consistent.

      10           Q.     Now, we've handed you some additional

      11     exhibits that have been marked, and what I'd like

      12     to do is to -- for probably the next hour, maybe

      13     two, ask you questions about the methodology

      14     employed by Medi-Cal for determining the amount

      15     of reimbursements to pharmacy providers for drugs

      16     covered under the Medi-Cal fee-for-service

      17     program and how that methodology has evolved and

      18     changed over time.

      19                  These first few exhibits, I recognize

      20     that they're dated before you were at the

      21     Department, but I'd like to ask you to look at

      22     what's been marked as Exhibit 13, which is a




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  247:1      extent by the Legislature in 2004.

       2                  MR. HENDERSON:      I see.   Okay.

       3                  I'd like this next document marked as

       4     Exhibit 22.

       5                        (Exhibit CA-Gorospe 022 was marked

       6     for Identification.)

       7                  MR. HENDERSON:      And I'm sorry.   There's

       8     no Bates number on this -- this document.

       9                  This is a copy of the first page of

      10     Assembly Bill Number 442 followed by selected

      11     pages from what was a lengthy bill.

      12                  This states, indicates, on the first

      13     page that it was approved by the Governor and

      14     filed with the Secretary of State on September

      15     30, 2002.

      16                  The -- do you recall that changes were

      17     made in the reimbursement methodology that became

      18     effective on approximately September 30, 2002?

      19           A.     Yes, changes to the reimbursement

      20     pursuant to this would be the health budget

      21     trailer bill of 2002, were made effective

      22     December 1st of that year.




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  248:1            Q.     On the second page of this document,

       2     Section 58 amends Section 141 -- I'm sorry --

       3     14105.337, and this has some changes that --

       4     appear to affect what you previously described as

       5     a 50 percent reduction -- bottom line reduction

       6     off the amount of the reimbursement.

       7                  Do you recall these statutory changes

       8     in 2002?

       9           A.     Yes.   In existence in the original

      10     discussion we had was regarding Section 14105.336

      11     which implemented the 50 cent reduction.

      12           Q.     Yep.

      13           A.     Subsequent to that an Assembly Bill not

      14     related to the budget was passed which

      15     implemented Subdivisions A and B, which would

      16     have been essentially moving from 50 cents to a

      17     25 cent reduction, and then from the 25 cent

      18     reduction to a 10 cent reduction because it

      19     states that we're going to increase the

      20     reimbursement by 15 cents.          So the difference

      21     would be 10 cents.

      22                  442 subsequently added Subdivision C




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  249:1      and -- in an interesting way to -- to do this,

       2     that basically said that the Department would no

       3     longer do A or B until Subdivision C was

       4     inoperative on July 1, 2004, so essentially

       5     reverting back to the 50 cent reduction that was

       6     -- that was previously there.

       7             Q.   On a temporary basis?

       8             A.   On a temporary basis.

       9             Q.   Okay.   And then effective July 1, 2004

      10     --

      11           A.     Effective July 1, 2004 because

      12     Subdivision B would have been the operative

      13     subdivision, we went to a 10 -- from a 50 cent

      14     reduction to a 10 Cent reduction.

      15                  In the health budget trailer of 2004

      16     Senate Bill 1103 sunsetted or eliminated this

      17     provision effective, I think, September 1st of

      18     2004.

      19           Q.     Okay.   Actually, I'll come back to this

      20     just for a little more clarification later.

      21           A.     Okay.

      22           Q.     But don't put that exhibit away yet.




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  250:1             A.    No.   I --

       2            Q.    If you could refer to a page that's

       3     marked at the top of -- as page 89.

       4            A.    Okay.

       5                  MR. PAUL:     You said "89."     98.

       6                  MR. HENDERSON:      I'm sorry.    98.

       7     BY MR. HENDERSON:

       8            Q.    There's a Section 72 that indicates

       9     "Amendments made to Section 14105.45 of the

      10     Welfare and Institutions Code," and this

      11     discusses the MAIC program.

      12                  Do you recall these changes?

      13            A.    Yes, I do.

      14            Q.    Was the Department involved in

      15     developing this legislation?

      16            A.    Yes, it was.

      17            Q.    If you could -- describe to us what

      18     this legislation did in your own words, if you

      19     can.

      20            A.    What this section of statute was doing

      21     was eliminating the process of setting MAICs

      22     pursuant to state regulations and establishing a




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  251:1      new process by which the Department would base

       2     MAICs on the mean of the wholesale selling price

       3     of drugs, generically equivalent drugs, in

       4     California from the various major wholesale drug

       5     wholesalers.

       6           Q.     All right.     This term "wholesale

       7     selling price," did I understand you correctly to

       8     indicate that that was a price that was to be

       9     obtained from major drug wholesalers?

      10           A.     That is correct.

      11           Q.     What did the Department do to -- if

      12     anything, to get that pricing information from

      13     wholesalers?

      14           A.     The Department had some discussion with

      15     a few of the major wholesalers, but we also were

      16     contacted by a variety of smaller wholesalers

      17     stating that it would be more appropriate if we

      18     did a much broader approach than just the major

      19     wholesalers because small wholesalers also sold

      20     drugs to a variety of pharmacies throughout

      21     California.

      22                  Beyond that contact, those initial




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  252:1      contacts, nothing else developed.

       2           Q.     All right.     Did the -- when you -- when

       3     there were contacts made with major wholesalers,

       4     did they agree to provide wholesale pricing

       5     information to the Department?

       6           A.     No, they did not.

       7           Q.     Was -- was any explanation given?

       8           A.     In our discussions with the wholesalers

       9     it was provided -- or they provided to the

      10     Department the -- an argument or a discussion

      11     that it would be significant changes to their

      12     system in order to accomplish what we wanted them

      13     to do and that it would take time and it would be

      14     costly to them.

      15           Q.     So were they simply unwilling to

      16     provide it?

      17           A.     I wouldn't say they were unwilling, but

      18     they were -- they were hesitant to get in the

      19     process.

      20           Q.     The -- these changes to the MAIC

      21     program, would it be fair to characterize them as

      22     an effort to obtain more accurate pricing




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  253:1      information about drugs for reimbursement

       2     purposes?

       3                  MR. BUEKER:     Objection as to form.

       4                  THE WITNESS:     Yes.

       5     BY MR. HENDERSON:

       6           Q.     As compared to AWPs?

       7                  MR. BUEKER:     Objection as to form.

       8                  THE WITNESS:     Yes.

       9     BY MR. HENDERSON:

      10           Q.     In your opinion, Dr. Gorospe, if

      11     manufacturers had reported AWPs truthfully as --

      12     as accurate measures of actual wholesale prices,

      13     would this legislation and the efforts made to

      14     implement it have -- have been necessary?

      15                  MR. BUEKER:     Objection as to form.

      16                  THE WITNESS:     If you mean by "truthful"

      17     the description as stated here, what wholesale

      18     selling price represents?

      19                  MR. HENDERSON:      Yes.

      20                  THE WITNESS:     Yes, this legislation

      21     would not have been necessary.

      22     BY MR. HENDERSON:




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  254:1            Q.     I'd like to ask you to turn the page to

       2     the last page of this Exhibit 22, and Section 73

       3     adds a Section 14105.46 to the Welfare and

       4     Administrations Code to provide for various

       5     definitions.

       6                  The first definition reads "'Estimated

       7     acquisition cost' means the Department's best

       8     estimate of the price generally and currently

       9     paid by providers for a drug product sold by a

      10     particular manufacturer or principal labeler in a

      11     standard package."

      12                  Do you -- do you recognize that

      13     definition?

      14           A.     Yes, I do.

      15           Q.     Is that to your recollection similar to

      16     the federal definition in the federal regulations

      17     that we looked at a little while ago?

      18           A.     It is probably fairly close to word-

      19     for-word.

      20           Q.     Now, in the -- skipping down to clause

      21     number 5, this has a definition of "Average Sales

      22     Price."




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  255:1                   It's defined to mean "The price

       2     reported to the Department as required by

       3     agreements between the State of California and

       4     the manufacturer."

       5                  Do you recall that definition being --

       6     put in to place in -- by the Assembly Bill Number

       7     442?

       8            A.    Yes.

       9            Q.    And in Subparagraph B(2), a little

      10     further down the page --

      11                  Actually, Subparagraph B says "The

      12     Department shall establish the estimated

      13     acquisition cost of legend and nonlegend drugs as

      14     follows:"

      15                  And then Clause 2 that says that "For

      16     innovator multiple source drugs the estimated

      17     acquisition cost shall be equal to the lower of

      18     the Average Sales Price as reported to the

      19     Department by a drug manufacturer and the Average

      20     Wholesale Price minus 10 percent."

      21                  First of all, the reference to "Average

      22     Wholesale Price minus 10 percent," was that new




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  256:1      compared to methodology in place prior to this?

       2           A.     Yes.

       3                  The intent of this was to move the

       4     reimbursement rate methodology and ingredient

       5     cost methodology from the regulatory process in

       6     to the statute, because the Legislature wanted to

       7     have more control in terms of they would make

       8     changes pursuant to the budget and the

       9     requirements of the budget.

      10           Q.     Okay.   And it changed the AWP component

      11     of the estimated acquisition cost from AWP minus

      12     5 percent, to AWP minus 10 percent; is that

      13     right?

      14           A.     That is correct.

      15           Q.     Okay.   Now, the other piece here that

      16     refers to Average Sales Price as a component of -

      17     - of the reimbursement methodology, was -- what,

      18     if anything, did the Department do to implement

      19     that feature?

      20           A.     The Department contacted a few single

      21     source manufacturers who indicated that they

      22     weren't interested in enter -- entering in to




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  257:1      agreements to supply that information for a

       2     variety of reasons.

       3           Q.     Okay.   Did the Department contact any

       4     multiple source drug manufacturers?

       5           A.     Not to my recollection, no.

       6           Q.     Do you know why not?

       7           A.     I believe the Department wanted to

       8     start with the manufacturers whose products were

       9     the bulk of the -- of the payments in the

      10     program.

      11           Q.     And those were the single source

      12     manufacturers?

      13           A.     Absolutely.

      14           Q.     Okay.   Did the Department's experience

      15     with regard to single source manufacturers inform

      16     the Department as to what it might expect if it

      17     were to contact multiple source drug

      18     manufacturers?

      19                  MR. BUEKER:     Objection as to form.

      20                  THE WITNESS:     It was -- it was a hint

      21     as to the likely reaction since the statute did -

      22     - did not have a requirement for either




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  258:1      wholesalers, for wholesale selling price, or

       2     manufacturers to report these numbers.

       3     BY MR. HENDERSON:

       4           Q.     Okay.   Did the -- did the Department

       5     generally feel that it was -- it would -- it was

       6     unable to implement this feature on the statute?

       7           A.     Yes, it was.

       8                  That's why this subsequent statute that

       9     the Legislature -- the statute was changed in

      10     2004 to contain penalties.

      11           Q.     Okay.   Subparagraph C on this page says

      12     "Direct price shall not be used by the Department

      13     to establish estimated acquisition costs."

      14                  Does that refer -- is it your

      15     understanding that that refers to the -- what you

      16     described earlier as the use of direct price with

      17     respect to certain manufacturers' drugs including

      18     Abbott?

      19           A.     That is correct.

      20           Q.     The -- this -- that particular

      21     provision, Subsection C, which terminated the use

      22     of direct price, do you recall when that was




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  263:1      quarter.

       2                  And by requirements of CMS they can

       3     only go back -- and approval they can only be

       4     issued to the first day of the quarter of

       5     submission.

       6                  MR. HENDERSON:      I see.

       7                  Okay.   All right.

       8                  I'll have this next document marked as

       9     Exhibit 25 -- correct?

      10                  THE REPORTER:      (Nodding head)

      11                        (Exhibit CA-Gorospe 025 was marked

      12     for Identification.)

      13     BY MR. HENDERSON:

      14           Q.     If you could take a look at -- take a

      15     look at this, it is for the record -- there's no

      16     Bates stamp numbers.

      17                  This is a print from Westlaw of the

      18     California Welfare and Institutions Code Section

      19     14105.45 effective August 16, 2004 to August 23,

      20     2007.

      21                  Have you had a chance to look at that,

      22     Dr. Gorospe?




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  264:1            A.     Yes.

       2           Q.     This -- do you recall this legislation

       3     generally, when it went in to effect in August of

       4     2004?

       5                  MR. BUEKER:     Objection as to form.

       6                  THE WITNESS:     Yes.      This is where it

       7     changes to Sections 14105.45 and 14105.46

       8     pursuant to the health budget trailer bill of

       9     2004, which would have been Senate Bill 1103, and

      10     the effective date of August 16th, 2004 is when

      11     the -- would have been filed by -- in to -- in to

      12     the record.

      13                  The actual -- any changes that --

      14     pursuant to this in terms of reimbursement rate

      15     methodology went in to effect, I believe, on

      16     September 1st, of 2004.

      17           Q.     Okay.   You mentioned Section 14105.46,

      18     --

      19           A.     Yes.

      20           Q.     -- which apparently I neglected to

      21     include here.

      22                  You recall what those -- what that




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  265:1      section provided for, generally speaking?

       2           A.     Actually, the change was to take

       3     14105.45 and .46 and merge them in to .45, thus

       4     eliminating .46.

       5           Q.     Okay.

       6           A.     So the two previous sections were

       7     merged in to one and new language was added or

       8     changed.

       9           Q.     Okay.   So we're not missing anything

      10     significant in this Exhibit 25?

      11           A.     No, you're not.

      12                  You're looking at the concatenated

      13     effort by the Legislature to put the two

      14     together.

      15           Q.     Oh, okay.

      16                  Now, when we talked about Assembly Bill

      17     Number 442, which was Exhibit 22, and the changes

      18     that were made in -- in 2002, and those -- those

      19     2002 changes referred to -- was it "Average Sales

      20     Price" was the term, I think?

      21                  Yes, "Average Sales Price."

      22                  Are you aware that in 2003 the Federal




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  266:1      Congress changed the Medicare law to -- phase out

       2     reliance on AWP for purposes of reimbursing under

       3     -- under the Medicare program and started using

       4     Average Sales Price as a basis for reimbursement?

       5                  Were you aware of that in 2004?

       6           A.     Yes.

       7                  In fact, the definition you will see

       8     here refers to those changes made in 2003 by the

       9     federal government.

      10           Q.     Okay.   Because I see on this first page

      11     of Exhibit 25 there's a definition of "Average

      12     Sales Price" that is considerably more detailed

      13     than what was in the 2000 Assembly Bill 442.

      14           A.     The -- that's correct.

      15           Q.     Okay.   What, if anything, that --

      16                  Well, let me back up.

      17                  If the Department had been unsuccessful

      18     previously in getting Average Sales Price

      19     information from manufacturers, what -- what

      20     prompted what appears to be a -- a -- another

      21     effort to implement an Average Sales Price

      22     methodology?




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  267:1            A.     The intent was still to produce an

       2     Average Sales Price methodology.

       3                  This legislation tried to define the

       4     Average Sales Price consistent with the federal

       5     statute.

       6                  And, also, if you'll look on page -- 4

       7     of this document at the very bottom in

       8     Subdivision C, Paragraph 3 it instituted a

       9     penalty for manufacturers who did not report to

      10     the Department, which says for manufacturers that

      11     fail to provide average selling price, I think it

      12     was information pursuant to this section, the

      13     Department may subject their drug's availability

      14     to preauthorization, and the provisions of the

      15     subdivision shall be included in contracts or

      16     contract amendments entered in to by the

      17     Departments pursuant to 14105.3.        .33, .37, and

      18     .39, which are drug contracting statutes, and

      19     manufacturers shall continue to pay -- continue

      20     rebate payments according to the rebate

      21     provisions in the contract.

      22           Q.     So your understanding is that this




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  268:1      legislation imposed a penalty on manufacturers

       2     that failed to provide average selling price

       3     information, and that penalty consisted of a -- a

       4     prior authorization requirement on their drugs?

       5           A.     That is correct.

       6           Q.     Okay.   Not a monetary penalty, but a

       7     penalty that would essentially potentially reduce

       8     their market share in the state?

       9           A.     That is correct.

      10           Q.     What, if anything, did the Department

      11     do to implement this feature of the statute, the

      12     Average Wholesale Price feature?

      13                  MR. BUEKER:     Do you mean "average

      14     selling price feature"?

      15                  MR. HENDERSON:      "Average Sales Price,"

      16     I think, is what it says.

      17                  Thank you.

      18                  MR. BUEKER:     You said "wholesale."

      19                  MR. HENDERSON:      Did I say --

      20                  Okay.   Let me state the question again.

      21     BY MR. HENDERSON:

      22           Q.     What, if anything, did the Department




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  269:1      do to implement the Average Sales Price feature

       2     of this statute?

       3           A.     The Department issued letters to

       4     manufacturers that it was going to begin work on

       5     this process.

       6                  It invited manufacturers or their

       7     representatives to attend a -- a meeting, a

       8     morning meeting, in which we presented the

       9     information about the legislation and the intent

      10     of the Department to obtain this information.

      11                  We also just had individual discussions

      12     with a handful of manufacturers who came forward

      13     and -- and provided us information on how they

      14     did or did not calculate Average Sales Price

      15     information for all their drugs, but only for

      16     selected drugs.

      17                  And -- we also had meetings with

      18     wholesalers on the wholesale selling price

      19     provisions of the statute along the same lines.

      20           Q.     Can you describe to us --

      21                  Well, when were these meetings?

      22                  When did they take place?




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  270:1            A.     In 2005.

       2           Q.     Can you describe generally what the

       3     reaction was from drug manufacturers?

       4           A.     In general the -- the reaction was that

       5     they would comply with the statute, but they

       6     would need time to do so.

       7           Q.     Has the Department received Average

       8     Sales Price data from drug manufacturers to date?

       9           A.     No, we have not.

      10           Q.     Do you know why not?

      11           A.     During the process of implementing this

      12     program the early versions of the Deficit

      13     Reduction Act of 2005 was issued -- were issued,

      14     in which Congress had proposed a move to an

      15     Average Manufacturer Price upper limit

      16     methodology for all drugs, and when that occurred

      17     both the manufacturers and the wholesalers said -

      18     - basically said, if Congress is moving to a

      19     singular methodology for all states, then what

      20     purpose does it serve to have a California only

      21     methodology that would cost us lots of money to

      22     do and lots of work to do, and -- and California




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  271:1      -- the Department agreed that we should stop the

       2     process to see what -- what transpired in

       3     Congress.

       4                  And subsequently most of those

       5     provisions were removed, and only the Federal

       6     Upper Limit based on AMP was established pursuant

       7     to the 2005 DRA.

       8           Q.     All right.     Are you familiar with the

       9     nature of the Average Sales Price information

      10     that manufacturers are required to report under

      11     the Medicare -- federal Medicare system?

      12           A.     Only generally.

      13           Q.     Okay.

      14           A.     Yes.

      15           Q.     Do you know whether or not the -- the

      16     drugs covered by that Average Sales Price

      17     requirement in terms of the span of -- of NDCs or

      18     -- or drug categories are the same, are broader,

      19     or narrower than the drugs covered by the

      20     California Medi-Cal program?

      21                  MR. BUEKER:     Objection as to form and

      22     foundation.




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  272:1                   THE WITNESS:     Narrower.

       2     BY MR. HENDERSON:

       3            Q.    There are fewer drugs covered by that

       4     piece of the Medicare program as compared to the

       5     Medi-Cal program?

       6                  MR. BUEKER:     Same objections.

       7                  THE WITNESS:     That's correct.

       8     BY MR. HENDERSON:

       9            Q.    Are you able to quantify that in any

      10     way?

      11            A.    Not specifically, but the ASP

      12     provisions are related to drugs billed pursuant

      13     to Medicare Part B, which are largely physician-

      14     administered products, whereas the Medi-Cal

      15     pharmacy program covers primarily self-

      16     administered medications.

      17                  So they're in different groups of

      18     medications.

      19            Q.    Okay.   So would the ASPs that are

      20     reported under the Medicare program -- work as a

      21     basis for reimbursing under the Medi-Cal program?

      22                  MR. BUEKER:     Objection as to form.




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  293:1      pursuant to the statute pay claims appropriately.

       2           Q.     Okay.   Do you know whether or not the

       3     Department ever, for example, would use a WAC,

       4     Wholesale Acquisition Cost, published price?

       5           A.     We wouldn't be allowed to pursuant to

       6     the -- the reimbursement statutes.

       7                  Statutory change would have to occur

       8     for that to -- to be able to do that.

       9           Q.     All right.     Mr. Cole asked you some

      10     questions about home infusion drugs and costs

      11     associated with dispensing or administering those

      12     drugs.

      13                  Did -- did Abbott Laboratories ever

      14     come to the Department to your knowledge and tell

      15     the Department that the dispensing fees for its

      16     drugs were too low?

      17                  MR. COLE:     Object to the form.

      18                  THE WITNESS:     No.

      19     BY MR. HENDERSON:

      20           Q.     Did Abbott Laboratories ever come to

      21     the Department and tell the Department that it

      22     was inflating the AWPs for its drugs because it




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  294:1      wanted to increase the -- the reimbursement for

       2     providers who purchased its drugs?

       3                  MR. COLE:     Object to the form.

       4                  THE WITNESS:     No.

       5     BY MR. HENDERSON:

       6             Q.   Did the -- did the Department ever

       7     delegate to drug manufacturers the authority to

       8     determine how much dispensing fees should be paid

       9     to providers?

      10           A.     No.

      11           Q.     Did the Department ever take a position

      12     that drug manufacturers should be permitted to

      13     report false AWP pricing information so that --

      14     in order to compensate for inadequate dispensing

      15     fees?

      16                  MR. BUEKER:     Objection as to form.

      17                  THE WITNESS:     No.

      18     BY MR. HENDERSON:

      19           Q.     In your opinion, Dr. Gorospe, would it

      20     be a reasonable government policy to give drug

      21     manufacturers the -- the power to increase

      22     reimbursements in order to make up for what they




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  295:1      perceive to be inadequate dispensing fees?

       2                  MR. BUEKER:     Objection as to form.

       3                  THE WITNESS:     No.

       4     BY MR. HENDERSON:

       5           Q.     Why not?

       6                  MR. BUEKER:     Same objection.

       7                  THE WITNESS:     Why not what?

       8     BY MR. HENDERRSON:

       9           Q.     Well, why wouldn't that be a reasonable

      10     policy to pursue?

      11                  MR. BUEKER:     Same objection.

      12                  THE WITNESS:     The management of the --

      13     the program is -- with the State of California

      14     and with -- and the federal government, and to

      15     allow a -- what is considered in California a

      16     provider type, which a manufacturer is, to set

      17     rates for providers would -- would not make

      18     sense.

      19     BY MR. HENDERSON:

      20           Q.     It would give the manufacturer control

      21     over how much money is -- of the State's money is

      22     spent; is that fair to say?




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  296:1            A.     Potentially.

       2           Q.     To your knowledge has --

       3                  Let me withdraw that and ask a

       4     different question.

       5                  If Abbott Laboratories reported grossly

       6     inflated Average Wholesale Prices to First

       7     DataBank knowing and intending that those prices

       8     would be used by state Medicaid agencies,

       9     including Medi-Cal, to pay inflated

      10     reimbursements to customers, people who bought

      11     Abbott drugs, would you consider that to be

      12     deceptive?

      13                  MR. COLE:     Objection.   Form.

      14                  THE WITNESS:     Yes.

      15     BY MR. HENDERSON:

      16           Q.     Did Dey ever to your knowledge come to

      17     the California Department of Health Care Services

      18     and tell the Department that it was reporting

      19     grossly inflated Average Wholesale Prices on its

      20     drugs?

      21                  MR. ROBBEN:     Objection as to form.

      22                  THE WITNESS:     No.




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  297:1      BY MR. HENDERSON:

       2           Q.     And if Dey reported grossly inflated

       3     Average Wholesale Prices to First DataBank

       4     knowing and intending that this would cause state

       5     Medicaid agencies to pay inflated reimbursements

       6     to customers who bought their drugs, would you

       7     consider that to be deceptive?

       8                  MR. ROBBEN:     Objection as to form.

       9                  THE WITNESS:     Yes.

      10     BY MR. HENDERSON:

      11           Q.     Likewise, if Roxane Laboratories

      12     reported grossly inflated Average Wholesale

      13     Prices to First DataBank knowing and intending

      14     that those prices would be used by the California

      15     Medi-Cal program to pay inflated reimbursements

      16     to providers who bought Roxane's drugs, would

      17     your consider that to be deceptive?

      18                  MS. DANNA:     Objection to form.

      19                  THE WITNESS:     Yes.

      20     BY MR. HENDERSON:

      21           Q.     Did Roxane ever come to the Department

      22     to your knowledge and tell the Department that it




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  298:1      was reporting grossly inflated Average Wholesale

       2     Prices?

       3                  MS. DANNA:     Objection to form.

       4                  THE WITNESS:     No.

       5     BY MR. HENDERSON:

       6           Q.     I want to return to Abbott, because I

       7     realized that one of my questions -- Mr. Cole may

       8     have had a legitimate question to the form.

       9                  If -- did Abbott ever come to the

      10     Department and tell the Department that it was

      11     reporting grossly inflated direct prices to First

      12     DataBank?

      13                  MR. COLE:     Object to the form.

      14                  THE WITNESS:     No.

      15     BY MR. HENDERSON:

      16           Q.     And if Abbott reported grossly inflated

      17     direct prices to First DataBank knowing and

      18     intending that those prices would be used by

      19     Medi-Cal to pay inflated reimbursements to

      20     providers who purchased Abbott's drugs, would you

      21     consider that to be deceptive?

      22                  MR. COLE:     Objection.   Form.




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  299:1                   THE WITNESS:     Yes.

       2     BY MR. HENDERSON:

       3           Q.     Has the Department ever had a -- any

       4     policy or practice of paying inflated acquisition

       5     costs in order to compensate for perceived

       6     inadequate dispensing fees?

       7                  MR. BUEKER:     Objection as to form.

       8                  THE WITNESS:     Was it a policy?

       9                  MR. HENDERSON:      Yes.

      10                  THE WITNESS:     No.

      11                  MR. HENDERSON:      Okay.

      12     BY MR. HENDERSON:

      13           Q.     Dr. Gorospe, if AWPs had -- as a

      14     general rule had no relationship whatsoever to

      15     actual market prices but were simply set by

      16     manufacturers according to whatever their

      17     marketing strategy might be, would it make any

      18     sense to use AWPs at all for determining

      19     reimbursement?

      20                  MR. BUEKER:     Objection as to form.

      21                  THE WITNESS:     If that was the only or

      22     the most available information, you would use AWP




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